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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION


   Wood Mountain Fish LLC, et al.,
                                                      Civil No. 19-22128-CIV-SMITH/LOUIS
                          Plaintiffs,

   v.

   Mowi ASA (f/k/a Marine Harvest ASA), et al.,

                          Defendants.


                 ORDER GRANTING FINAL APPROVAL OF SETTLEMENT AND
                     CERTIFICATION OF SETTLEMENT CLASS

         This matter is before the Court on Indirect Purchaser Plaintiffs’ Unopposed Motion for

  Final Approval of Settlement with All Defendants and Certification of Settlement Class [DE 348]

  (“Motion for Final Approval”) and Indirect Purchaser Plaintiffs’ Motion for an Award of

  Attorneys’ Fees and Reimbursement of Litigation Expenses and Costs [DE 345] (“Motion for Fees

  and Expenses”).

         The Court has considered the record in this matter and the requirements of law, including

  the Motion for Final Approval and its accompanying declarations and exhibits, the Settlement

  Agreement, ECF No. 336-2; the Court’s November 17, 2022 Order granting preliminary approval

  (the “Preliminary Approval Order”), [ECF No. 341]; the statements made at the Final Approval

  Hearing held on February 24, 2023; and the Motion for Fees and Expenses. The Court finds that

  notice was issued to the proposed Settlement Class, that Defendants provided the relevant notices

  required by the Class Action Fairness Act, 28 U.S.C. § 1715, and that 90 days have passed since

  those notices were served on the appropriate federal and state officials.
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         The Motion for Final Approval and the Motion for Fees and Expenses are GRANTED and

  it is ORDERED as follows:

         1.         This Final Judgment and Order of Dismissal as to all Defendants incorporates by

  reference the definitions in the Settlement Agreement, and all capitalized terms used but not

  defined herein shall have the same meanings as in the Settlement Agreement.

         2.         For the reasons discussed below, the Court has jurisdiction over the subject matter

  of the Litigation and over all parties to the Settlement Agreement, including all Settlement Class

  Members.

         3.         The notice provisions of the Class Action Fairness Act, 28 U.S.C. § 1715, have

  been satisfied.

                                  Certification of the Settlement Class


         4.         The court hereby certifies the following Settlement Class solely for settlement

  purposes:

                    All persons and entities who indirectly purchased, for resale,
                    Defendants’ farm-raised salmon or products derived therefrom in
                    any of the following states, districts, or territories: Alabama,
                    Arizona, Arkansas, California, the District of Columbia, Florida,
                    Guam, Hawaii, Illinois, Iowa, Kansas, Maine, Massachusetts,
                    Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska,
                    Nevada, New Hampshire, New Mexico, New York, North Carolina,
                    North Dakota, Oregon, Rhode Island, South Carolina, South
                    Dakota, Tennessee, Utah, Vermont, West Virginia, or Wisconsin.

         5.         The Court confirms, for settlement purposes only, that the Settlement Class meets

  the applicable requirements of Federal Rule of Civil Procedure 23(a) and (b)(3) as follows:

                    a.     The Settlement Class is ascertainable and consists of at least 40,692 and

                           therefore satisfies the numerosity requirements of Federal Rule of Civil

                           Procedure 23(a)(1).



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              b.    The case presents “questions of law or fact common to the class” and those

                    questions can be resolved in a common manner for the entire class. Fed. R.

                    Civ. P. 23(a)(2); Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).

                    The antitrust claims here relate to Defendants’ alleged anticompetitive

                    conduct. These claims, as alleged in this case, involve common questions.

                    See In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D. 672, 686

                    (S.D. Fla 2004).

              c.    Plaintiffs’ claims are typical of the class they seek to represent. Fed. R. Civ.

                    P. 23(a)(3).

              d.    Plaintiffs experienced the same alleged economic injury, stand to gain the

                    same relief on a pro rata basis through the settlement, and have adequately

                    represented the Settlement Class. Class Counsel have substantial experience

                    in complex antitrust litigation and have vigorously represented the interests

                    of the class throughout this case. Accordingly, the Court finds that Plaintiffs

                    and Class Counsel satisfy Federal Rule of Civil Procedure 23(a)(4).

              e.    The common questions of law and fact related to Plaintiffs’ antitrust claims

                    predominate over any individual issues presented. Therefore, Plaintiffs have

                    satisfied the predominance requirement of Rule 23(b)(3) for settlement

                    purposes.

              f.    A class is the superior method to adjudicate the antitrust claims in this case,

                    as there are thousands of class members and class certification allows for

                    an efficient and uniform resolution of the claims at issue. Therefore, the




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                         superiority requirements of Rule 23(b)(3) are also satisfied for settlement

                         purposes.

         6.      This certification of the Settlement Class is for settlement purposes only and shall

  not constitute evidence in any other proceeding and may not be cited in support of the certification

  of any other proposed class.

         7.      The Court appoints Plaintiffs Portland Hunt-Alpine Club, LLC, Prime Steakhouse,

  Mamme Inc., Rocca Kurt’s Brothers Inc., Stephen T. Deangelis, Inc., Amy Mehaffey, Nautical

  Okoboji LLC, People’s Food Cooperative, Inc., Classic City Catering, Inc., and Bama Seafood,

  Inc. as class representatives for settlement purposes.

         8.      The Court hereby appoints the law firms of Zwerling, Schachter & Zwerling LLP

  (Fred T. Isquith, Sr.) and Lockridge Grindal Nauen P.L.L.P. (Heidi M. Silton), to serve as co-lead

  Class Counsel for the Settlement Class, having found the requirements of Rule 23(g) satisfied.

                                     Notice to the Settlement Class

         9.      As shown by the record, the Court finds that notice has been provided to the

  Settlement Class in the manner approved and directed by the Preliminary Approval Order. The

  Court concludes that this notice provided the best notice practicable under the circumstances and

  that it adequately notified class members of the action, the Court’s preliminary certification

  decision, the terms of the settlement, and rights of class members to opt-out of or object to the

  settlement. The Court finds that Plaintiffs’ Motion for Fees and Expenses was made available to

  the Settlement Class in advance of the opt-out and objection deadlines, and that the class therefore

  had notice of the fees and expenses sought.




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         10.     The Court concludes that it may exercise jurisdiction over the Settlement Class and

  its members because adequate notice was provided, consistent with the Federal Rules of Civil

  Procedure and constitutional due process.

                                 Final Approval of Settlement Agreement

         11.     The Court finds that the settlement as set forth in the Settlement Agreement was

  fairly and honestly negotiated by counsel with significant experience in antitrust class action

  litigation and resulted from good faith, arm’s-length negotiations with assistance from United

  States Magistrate Judge Edward Infante (retired), an experienced mediator of complex cases.

         12.     After consideration of the requirements of Federal Rule of Civil Procedure 23(e)

  and factors set forth in Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir. 1984), the Court

  finds as follows:

                 a.     Class Representatives and Class Counsel have adequately represented the

                        interests of the Settlement Class.

                 b.     The settlement was negotiated at arm’s-length and there was no fraud or

                        collusion underlying the Settlement Agreement.

                 c.     The relief provided to the Settlement Class is adequate, especially in light

                        of the significant costs, risks, and delay of further litigation. The Court has

                        specifically considered the risks associated with a complex, antitrust case

                        brought by indirect purchasers under the laws of 34 jurisdictions when

                        making this determination.

                 d.     The proposed allocation plan, which distributes the settlement fund to the

                        Settlement Class on a pro rata basis, is an effective and equitable way to

                        distribute relief to the class.




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         13.     The response of the Settlement Class to the settlement has been positive, which

  further supports the Court’s findings of fairness.

         14.     Accordingly, the Court grants final approval of the settlement as set forth in the

  Settlement Agreement under Federal Rule of Civil Procedure 23(e) because the settlement is fair,

  reasonable, and adequate, in the best interests of the parties, and in compliance with applicable

  law, including the Federal Rules of Civil Procedure, the United States Constitution, and the Class

  Action Fairness Act. The Settlement Agreement is therefore binding on all Settlement Class

  Members.

          Settlement Class Counsel’s Motion for Fees and Reimbursement of Expenses

         15.     Class Counsel has filed a motion seeking an award of attorneys’ fees in the amount

  of 30% of the gross settlement fund, which is $9,900,000. This amount is consistent with the

  Settlement Agreement and the Settlement Class had sufficient notice prior to the opt-out and

  objection deadlines.

         16.     The Supreme Court and the Eleventh Circuit have recognized that federal courts

  have the authority to award attorneys a reasonable fee as a percentage of a common fund obtained

  for a class. See Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980); Camden I Condominium

  Ass’n, Inc. v. Dunkle, 946 F.2d 768, 774 (11th Cir. 1991); Waters v. Int’l Precious Metals Corp.,

  190 F.3d 1291, 1293 (11th Cir. 1999); In re Equifax Inc. Customer Data Sec. Breach Litig., 999

  F.3d 1247, 1278 (11th Cir. 2021).

         17.     The Court has considered the 12 factors set forth in Camden I, 946 F.2d at 772 n.3,

  the Motion for Fees and Expenses and its supporting exhibits filed by the parties, and the record

  in this case, and finds as follows:




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                 a.     Class Counsel have substantial experience and a strong reputation for

                        prosecuting antitrust cases and have vigorously advocated for the

                        Settlement Class throughout this litigation, investing substantial time and

                        labor into the case for the benefit of the class.

                 b.     This case involved difficult and complex legal issues due to the nature of

                        the legal claims in the case and the application of laws of 34 jurisdictions.

                 c.     Class Counsel represented the class on a contingent basis and therefore bore

                        the risk of non-recovery.

                 d.     The percentage of the settlement fund requested by Class Counsel is within

                        the range that is customary and reasonable in recent complex actions in this

                        District, and is on par with awards in indirect purchaser antitrust cases

                        nationwide.

          18.    Accordingly, the Court approves the application for attorneys’ fees in the amount

  of $9,900,000, to be paid from the settlement fund.

          19.    The Court also concludes that Class Counsel are entitled to reimbursement of

  litigation expenses that were reasonably and necessary to the prosecution of this case. See Waters,

  190 F.3d at 1299. The Court has reviewed the expenses incurred as detailed in the Motion for Fees

  and Expenses and the accompanying declaration, and finds that the expenses are of a kind with

  expenses that courts in this District have recognized as reasonable and necessary. These expenses

  were reasonable and necessary to the prosecution of this case. Accordingly, the Court approves

  the application for reimbursement of $1,278,166.09 in expenses, to be paid from the settlement

  fund.




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                                   Dismissal of Claims and Release

         20.     The Litigation and all claims contained therein, as well as all of the Released

  Claims, against any of the Released Parties by the Indirect Purchaser Plaintiffs, Settlement Class

  Members, and Releasing Parties are hereby dismissed with prejudice. The parties are to bear their

  own costs, except as otherwise specified by the Settlement Agreement and this Order.

         21.     Upon the Effective Date as defined in the Settlement Agreement, each of the

  Releasing Parties: (a) shall be deemed to have, and by operation of this Order and the Final

  Judgment entered thereby, waived and released (i) all Released Claims against the Released Parties

  and (ii) any rights to the protections afforded under California Civil Code section 1542 or any law

  of any state, territory, or district of the United States, or principle of common law, which is similar,

  comparable, or equivalent to section 1542 of the California Civil Code, or any law or principle of

  law of any jurisdiction that would limit or restrict the effect or scope of the provisions of the

  release; (b) shall forever be barred from initiating, asserting, maintaining, or prosecuting any and

  all Released Claims against any Released Party.

         22.     This dismissal shall not affect, in any way, the right of the Indirect Purchaser

  Plaintiffs and Settlement Class Members to pursue claims, if any, outside the scope of the Released

  Claims.

         23.     Neither the settlement, nor the Settlement Agreement and its contents, including

  without limitation its exhibits and any and all statements, negotiations, documents, and discussions

  associated with it, shall be deemed or construed to be an admission or evidence of any violation

  of any statute or law or of any liability or wrongdoing or of the truth of any of the claims or

  allegations contained in the complaints in the Litigation or any other pleading or filing, and

  evidence thereof shall not be discoverable or used, directly or indirectly, in any way, whether in




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  the Litigation or in any other action or proceeding. This Settlement Agreement shall not be

  construed as an admission of liability or wrongdoing, or used as evidence of liability, for any

  purpose in any legal proceeding, claim, regulatory proceeding, or government investigation. The

  Settlement Agreement may be filed in an action to enforce or interpret the terms of the Settlement

  Agreement, the settlement contained therein, and any other documents executed in connection with

  the performance of the agreements embodied therein. The Released Parties may file the Settlement

  Agreement and/or this Order of Dismissal in any action that may be brought against them in order

  to support a defense or counterclaim based on the principles of res judicata, collateral estoppel,

  full faith and credit, release, good faith settlement, judgment bar, or reduction or any other theory

  of claim preclusion or issue preclusion or similar defense or counterclaim.

         24.     Without affecting the finality of this Order of Dismissal and the Final Judgement

  entering thereby, in any way, the Court hereby retains continuing jurisdiction over the Settlement

  Agreement for any suit, action, proceeding, or dispute arising out of or relating to this Settlement

  Agreement or the applicability of the Settlement Agreement, or relating to the award of fees and

  expenses and any allocation thereof. Any disputes concerning matters contained in the Settlement

  Agreement, if they cannot be resolved by negotiation and agreement, shall be submitted, in the

  first instance, for mediation before Judge Edward Infante (retired) in his capacity as mediator, and

  if not then resolved, shall be submitted to the Court.

         25.     As the Settlement Agreement has now been approved by this Court, and pursuant

  to paragraph 2(d) of same, after all costs (including notice costs), attorneys’ fees, and other

  expenses have been paid from the Settlement Fund, remaining funds shall be distributed to

  Settlement Class Members in accordance with the Settlement Agreement. If, following further

  distribution, the remaining funds become de minimis in Class Counsel’s reasonable judgment, such




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   residual funds shall be made the subject for cy pres distribution to: Just the Beginning – A Pipeline

   Organization, 70 West Madison Street, Suite 2900, Chicago, IL 60602.

          26.     If the settlement set forth in the Settlement Agreement is terminated pursuant to the

   Settlement Agreement, then the Settlement Agreement (including any amendments thereto) and

   this Order of Dismissal shall be null and void, of no further force or effect, and without prejudice

   to any Party, and may not be introduced as evidence or referred to in any actions or proceedings

   by any Person, and each Party shall be restored to his, her, or its respective position as it existed

   prior to the execution of the Settlement Agreement.

          27.     Except as otherwise provided herein, in the event the Settlement Agreement is

   terminated, is vacated, is not approved, or the Effective Date fails to occur for any reason, then the

   Parties to the Settlement Agreement shall be deemed to have reverted to their respective status in

   the Litigation as of the Execution Date, and, except as otherwise expressly provided herein, the

   Parties shall proceed in all respects as if the Settlement Agreement and any related orders had not

   been entered, and all amounts paid by Defendants into the Settlement Fund (other than costs that

   may already have reasonably been incurred or expended in accordance with the Settlement

   Agreement, such as notice and administration) shall be returned to Defendants from the Escrow

   Account along with any interest, income, or proceeds consolidated therewith, within ten (10)

   business days after such order becomes final and non-appealable.

          28.     There is no just reason for delay in the entry of this Final Judgment and Order of

   Dismissal and immediate entry by the Clerk of the Court is expressly directed pursuant to Federal

   Rule of Civil Procedure 54.

          DONE and ORDERED in Fort Lauderdale, Florida, this 27th day of February, 2023.




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